 Fill in this information to identify your case:

 United States Bankruptcy Court for the:

 DISTRICT OF ARIZONA

 Case number (if known)                                                       Chapter you are filing under:

                                                                                 Chapter 7
                                                                              D Chapter 11
                                                                              D Chapter 12

                              y 13383                                         D Chapter 13                                    D Check if this an
                                                                                                                                amended filing




Official Form 101
Volunta                   Petition for Individuals Filin for Bankruptc                                                                                 12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a joint
case-and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car, " the answer
would be yes if either debtor owns a car. When information is needed aboutthe spouses separately, the form uses Debtor 1 and Debtor 2 to distinguis
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. Iftwo married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheetto this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1     Identify Yourself

                                    About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name

      Write the name that is on     Armando
      your government-issued        First name                                                      First name
      picture identification (for
      example, your driver's        Romero
      license or passport).         Middle name                                                    Middle name

      Bring your picture            Corella
      identification to your        Last name and Suffix (Sr., Jr.,                                Last name and Suffix (Sr., Jr., II, III)
      meeting with the trustee.



2.    All other names you have
      used in the last 8 years
      Include your married or
      maiden names.




3.    Only the last 4 digits of
      your Social Security
      number or federal             xxx-xx-4727
      Individual Taxpayer
      Identification number
      (ITIN)




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'Debtor 1   Armando   Romero    Corella                                                               Case number (ifknown)




                                About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                 D I havenot used any businessnameor EINs.
     used in the last 8 years

     Include trade names and    Business name(s)                                               Business name(s)
     doing business as names

                                EINs                                                           EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                29101 N         Mountain      View Road
                                San Tan Valley, AZ 85143
                                Number, Street, City, State & ZIP Code                         Number, Street, City, State & ZIP Code

                                Final
                                County                                                         County

                                If your mailing address is different from the one              If Debtor 2's mailing address is differentfrom yours, fill it
                                above, fill it in here. Note that the court will send any      in here. Note that the court will send any notices to this
                                notices to you at this mailing address.                        mailing address.



                                Number, P. O. Box, Street, City, State & ZIP Code              Number, P. O. Box, Street, City, State & ZIP Code




6.   Why you are choosing       Check one:                                                     Check one:
       fsd;sfric(tofilefor
     bankruptcy                        Over the last 180 days before filing this petition,     D        Over the last 1 80 days before filing this petition, I
                                       I have lived in this district longer than in any                 have lived in this district longer than in any other
                                       other district.                                                  district.


                                D      I have another reason.                                  D        I have another reason.
                                       Explain. (See 28 U. S. C. § 1408.)                               Explain. (See 28 U. S. C. § 1408.)




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Debtor 1    Armando Romero Corella                                                                          Case number (ifknown)


Part 2     Tell the Court About Your Bankruptcy Case

7.   The chapterof the       Checkone. (For a briefdescription ofeach, see Afoft'ce Required by 11 U. S. C. § 342(b) for IndividualsFilingfor Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and checkthe appropriate box.
                     under
                                     Chapter 7
                                 D Chapter 11
                                 D Chapter 12
                                 D Chapter 13


8.   How you will pay the fee D            I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more details
                                           about howyou may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier'scheck, or money
                                           order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                           a pre-printed address.
                                           I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                           The Filing Fee in Installments (Official Form 103A).
                                 D         I request that my fee be waived (You may requestthis option only if you are filing for Chapter7. By law, a judge may,
                                           but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                           applies to your family size and you are unable to pay the fee in installments). Ifyou choose this option, you must fill out
                                           the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for              No.
     bankruptcy within the
     last 8 years?               D Yes.
                                                District                                  When                            Case number
                                                District                                  When                            Case number
                                                District                                  When                            Case number



10. Are any bankruptcy               No
    cases pending or being
    filed by a spouse who is     D Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                                Debtor                                                                   Relationshipto you
                                                District                                  When                           Case number, if known
                                                Debtor                                                                   Relationship to you
                                                District                                  When                           Case number, if known



11   Do you rent your                No.         Go to line 12.
     residence?
                                 D Yes.          Has your landlord obtained an evictionjudgment againstyou?
                                                 D         No. Go to line 12.
                                                 d         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                           this bankruptcy petition.




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Debtor 1    Armando Romero Corella                                                                         Case number (ifknown)


Part 3-    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
     business?
                                   D Yes.      Name and location of business
    A sole proprietorship is a
    business you operate as                    Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describeyour business:
                                               d      Health Care Business (as defined in 11 U. S.C. § 101(27A))
                                               D       SingleAsset Real Estate (as defined in 11 U. S.C. § 101(518))
                                               D       Stockbroker(as defined in 11 U. S. C. § 101(53A))
                                               d       Commodity Broker (as defined in 11 U. S. C. § 101(6))
                                               a       None of the above

13. Are you filing under           Ifyou are filing underChapter 11, the court must know whetheryou are a small business debtorso that it can set appropriate
    Chapter 11 of the       deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are operations, cash-flowstatement, and federal income tax return or if any ofthese documents do not exist, followthe procedure
    you a small business    in 11 U. S. C. 1116(1)(B).
    debtor?
                                No.        I am not filing under Chapter 11.
    For a definition of small
    business debtor, see 11
    U. S. C. § 101(510).           D No.       I am filing under Chapter 11, but I am NOTa small business debtor accordingto the definition in the Bankruptcy
                                               Code.

                                   Q Yes.      ! am fflin9 under Chapter 11 and I am a small businessdebtor accordingto the definition in the BankruptcyCode


Part 4     Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any           No.
    property that poses or is
    alleged to pose a threat       D Yes.
    of imminent and                         What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                     If immediate attention is
    immediate attention?                    needed, why is it needed?

    For example, do you own
    perishable goods, or
    livestock that must be fed,             Where is the property?
    or a building that needs
    urgent repairs?
                                                                           Number Street, City, State & Zip Code




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Debtor 1    Armando    Romero     Corella                                                           Case number {ifknown)

Part 5:    ExplainYour Efforts to Receive a Briefing About Credit Counseling
                                  About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether        You must check one:                                           You must check one:
     you have received a              I received a briefing from an approved credit             D   I received a briefing from an approved credit
     briefing about credit            counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     counseling.                      filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate o1
                                      certificate of completion.                                    completion.
    The law requires that you
    receive a briefing about          Attach a copy of the certificate and the payment              Attach a copy ofthe certificate and the payment plan, if
    credit counseling before          plan, if any, that you developed with the agency.             any, that you developed with the agency.
    you file for bankruptcy.
    You must truthfully check     D   I received a briefing from an approved credit             D   I received a briefing from an approved credit
    one of the following              counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    choices. If you cannot do         filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificah
    so, you are not eligible to       a certificate of completion.                                  of completion.
    file.
                                      Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
    If you file anyway, the court     petition, you MUST file a copy of the certificate and         MUSTfile a copy ofthe certificate and payment plan, if
    can dismiss your case, you        payment plan, if any.                                         any.
    will lose whatever filing fee
    you paid, and your            D   I certify that I asked for credit counseling              D   I certify that I asked for credit counseling services
    creditors can begin               services from an approved agency, but was                     from an approved agency, but was unableto obtain
    collection activities again.      unable to obtain those services during the 7                  those services during the 7 days after I made my
                                      days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                      circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                      of the requirement.
                                                                                                    To ask for a 30-daytemporary waiver ofthe requirement,
                                      To ask for a 30-day temporary waiver of the                   attach a separate sheet explainingwhatefforts you made
                                      requirement, attach a separate sheet explaining               to obtain the briefing, whyyou were unable to obtain it
                                      what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and whatexigent
                                      you were unable to obtain it before you filed for             circumstances required you to file this case.
                                      bankruptcy, and what exigent circumstances
                                      required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                    with your reasonsfor not receiving a briefing before you
                                      Your case may be dismissed if the court is                    filed for bankruptcy.
                                      dissatisfied with your reasons for not receiving a
                                      briefing before you filed for bankruptcy.                     Ifthe court is satisfied with your reasons, you must still
                                      If the court is satisfied with your reasons, you must         receive a briefing within 30 days afteryou file. You must
                                      still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                      You must file a certificate from the approved                 copy of the payment plan you developed, if any. Ifyou do
                                      agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                      developed, if any. Ifyou do not do so, your case
                                      may be dismissed.                                             Any extension ofthe 30-daydeadline is granted onlyfor
                                                                                                    cause and is limited to a maximum of 15 days.
                                      Any extension of the 30-day deadline is granted
                                      only for cause and is limited to a maximum of 15
                                      days.
                                  d   I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                      credit counseling because of:                                 counseling because of:

                                      D     Incapacity.                                             D      Incapacity.
                                            I have a mental illness or a mental deficiency                 I have a mental illness or a mental deficiency that
                                            that makes me incapable of realizing or                        makes me incapableof realizing or making rational
                                            making rational decisions about finances.                      decisions about finances.

                                      D      Disability.                                            D      Disability.
                                            My physical disability causes me to be                         My physical disability causes me to be unable to
                                            unable to participate in a briefing in person,                 participate in a briefing in person, by phone, or
                                            by phone, or through the internet, even after I                through the internet, even after I reasonablytried to
                                            reasonably tried to do so.                                     do so.

                                      D     Active duty.                                            D      Active duty.
                                            I am currently on active military duty in a                    I am currently on active military duty in a military
                                            military combat zone.                                          combat zone.
                                      If you believe you are not required to receive a              Ifyou believe you are not required to receive a briefing
                                      briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                      motion for waiver credit counseling with the court.           of credit counseling with the court.




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Debtor 1    Armando     Romero   Corella                                                                      Case number (ifknown)

Part 6-    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.       Are your debts primarily consumer debts? Consumer debts are defined in 11 U. S. C. § 101(8) as "incurred by an
    you have?                               individual primarily for a personal, family, or household purpose."
                                            D No. Go to line 16b.                                        -'
                                               Yes. Goto line 17.

                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                            D No. Go to line 16c.
                                            D Yes. Go to line 17.
                                 16c.       State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under         Q No.      I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

    Do you estimate that            Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
    after any exempt                       are paid that funds will be available to distribute to unsecured creditors?
    property is excluded and
    administrative expenses                    No
    are paid that funds will
    be available for                        D Yes
    distribution to unsecured
    creditors?


18. How many Creditors do           1-49                                          D 1, 000-5,000                               D 25, 001-50,000
    you estimate that you                                                         D 5001-10, 000                               D 50, 001-100, 000
    owe?
                                 D 50-99
                                 D 100-199                                        D 10, 001-25,000                             D More than100,000
                                 D 200-999

19. How much do you                 $0 - $50, 000                                 D $1, 000, 001 -$10 million                  D $500, 000, 001 - $1 billion
    estimate your assets to                                                       D $10,000,001 -$50 million                   D $1,000,000,001 -$10 billion
    be worth?
                                 D $50, 001 -$100,000
                                 fl5$100,001-$500,000                             D $50, 000,001 -$100 million                 D $10, 000, 000, 001-$50 billion
                                 D $500, 001 - $1 million                         D $100,000,001 -$500 million                 D More than $50 biflion

20. How much do you              D $0 - $50,000                                   D $1, 000, 001 -$10 million                  D $500, 000, 001 - $1 billion
    estimate your liabilities    D $50, 001 -$100,000                             D $10,000,001 -$50 million                   D $1, 000, 000, 001 -$10 billion
    to be?
                                    $100, 001 -$500, 000                          D $50, 000,001 -$100 million                 D $10,000, 000, 001 -$50 billion
                                 D $500,001 - $1 million                          D $100,000,001 - $500 million                D More than $50 billion


Part 7     Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, 1 am aware that I may proceed, if eligible, under Chapter 7, 11, 12, or13oftitle 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U. S. C. § 342(b).

                                 I request relief in accordance with the chapter of title 1 1, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy c se can res in fines up to $250, 000, or imprisonment for up to 20 years, or both. 18 U. S. C. §§ 152, 1341, 1519,
                                 and 3571.

                                  rmando      Romero      Corella                                   Signature of Debtor 2
                                 Signature of Debtor 1

                                        /^/^/^^0& ^~^($^^. ^-^
                                 Email Address of Debtor 1                                          Email Address of Debtor 2

                                 Executedon          /^-^'^/^                                       Executed on
                                                 MM/DD/YYYY                                                           MM / DD / YYYY


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For you if you are filing this   The law allows you, as an individual, to represent yourself in bankruptcy court, but you should understand that many
bankruptcy without an            people find it extremely difficult to represent themselves successfully. Because bankruptcy has long-term
attorney                         financial and legal consequences, you are strongly urged to hire a qualified attorney.

If you are represented by an     To be successful, you must correctly file and handle your bankruptcy case. The rules are very technical, and a mistake or
attorney, you do not need to     inaction may affect your rights. For example, your case may be dismissed because you did not file a required document,
file this page.                  pay a fee on time, attend a meeting or hearing, or cooperate with the court, case trustee, U. S. trustee, bankruptcy
                                 administrator, or audit firm if your case is selected for audit. If that happens, you could lose your right to file another case,
                                 or you may lose protections, including the benefit of the automatic stay.

                                 You must list all your property and debts in the schedules thatyou are required to file with the court. Even if you plan to pay
                                 a particulardebt outside ofyour bankruptcy, you must list that debt in your schedules. Ifyou do not list a debt, the debt may
                                 not be discharged. If you do not list property or properly claim it as exempt, you may not be able to keep the property. The
                                 judge can also deny you a dischargeof all your debts if you do something dishonest in your bankruptcy case, such as
                                 destroying or hiding property, falsifying records, or lying. Individual bankruptcy cases are randomly audited to determine if
                                 debtors have been accurate, truthful, and complete. Bankruptcy fraud is a serious crime; you could be fined and
                                 imprisoned.

                                 If you decide to file without an attorney, the court expects you to follow the rules as if you had hired an attorney. The court
                                 will not treat you differently because you are filing for yourself. To be successful, you must be familiar with the United
                                 States Bankruptcy Code, the Federal Rules of Bankruptcy Procedure, and the local rules of the court in which your case is
                                 filed. You must also be familiar with any state exemption laws that apply.

                                 Are you aware that filing for bankruptcy is a serious action with long-term financial and legal consequences?
                                 D No
                                    Yes

                                 Are you awarethat bankruptcyfraud is a serious crime and that if your bankruptcy forms are inaccurate or incomplete, you
                                 could be fined or imprisoned?
                                 D No
                                    Yes

                                 Didyou pay or agreeto pay someone who is not an attorney to help you fill out your bankruptcyforms?
                                   No
                                 D Yes            Name of Person
                                                  Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).

                                 By signing here, I acknowledge that I understand the risks involved in filing without an attorney. I have read and understood
                                 this notice, and I am awarethat filing a bankruptcy case without an attorney may cause me to lose my rights or property if I do
                                 not properly     die the c

                                 Armando        Romero    Corella                                  Signature of Debtor 2
                                 Signature of Debtor 1

                                 Date      /ff-'Z. t-          -2. ^,^                             Date
                                         MM / DD / YYYY                                                    MM / DD / YYYY
                                 Contact phone                                                     Contact phone
                                 Cell phone                                                        Cell phone
                                 Email address                                                     Email address




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